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   1    CENTER FOR DISABILITY ACCESS
        Raymond Ballister Jr., Esq., SBN 111282
   2
        Phyl Grace, Esq., SBN 171771
   3    Russell Handy, Esq., SBN 195058
        Dennis Price, Esq., SBN 279082
   4    8033 Linda Vista Road, Suite 200,
   5    San Diego, CA 92111
        (858) 375-7385; (888) 422-5191 fax
   6    Attorneys for Plaintiff
   7
        SAMUEL H. PARK (SBN: 261136)
   8    sam@sampark.lawyer
        ATTORNEY AT LAW
   9
        3960 W. Point Loma Blvd., #H310,
  10    San Diego, CA 92110
        Telephone: (619) 674-7392
  11    Facsimile: (619)713-7374
  12    Attorney for Defendants
        Myer Property, LLC, Jeronimo Gutierrez,
  13    Soo Gil Kim, Ok Hye Kim
  14
  15                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  16
  17    CHRIS LANGER,                              Case: 2:19-CV-07218-CJC-GJS
  18
                       Plaintiff,
  19       v.                                      JOINT STIPULATION FOR
                                                   DISMISSAL PURSUANT TO
  20
        MYER PROPERTY LLC, a California            F.R.CIV.P. 41 (a)(1)(A)(ii)
  21    Limited Liability Company;
        JERONIMO GUTIERREZ; SOO GIL
  22    KIM; OK HYE KIM; and Does 1-10,
  23
                    Defendants.
  24
  25
  26            Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
  27   between the parties hereto that this action may be dismissed with prejudice
  28   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.

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       Joint Stipulation for Dismissal                 Case: 2:19-CV-07218-CJC-GJS
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   1   This stipulation is made as the matter has been resolved to the satisfaction of
   2   all parties.
   3
   4   Dated: November 22, 2019          CENTER FOR DISABILITY ACCESS
   5
                                         By:   /s/Amanda Lockhart Seabock
   6                                           Amanda Lockhart Seabock
   7                                           Attorney for Plaintiff

   8
   9   Dated: November 22, 2019          ATTORNEY AT LAW
  10
  11                                     By:   /s/Samuel H. Park
                                               Samuel H. Park
  12                                           Attorney for Defendants
  13                                           Myer Property, LLC, Jeronimo
                                               Gutierrez, Soo Gil Kim, Ok Hye Kim
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       Joint Stipulation for Dismissal                Case: 2:19-CV-07218-CJC-GJS
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   1                        SIGNATURE CERTIFICATION
   2
   3   I hereby certify that the content of this document is acceptable to Samuel H.
   4   Park, counsel for Myer Property, LLC, Jeronimo Gutierrez, Soo Gil Kim, Ok
   5   Hye Kim, and that I have obtained authorization to affix his electronic
   6   signature to this document.
   7
   8   Dated: November 22, 2019          CENTER FOR DISABILITY ACCESS
   9
                                             /s/Amanda Lockhart Seabock
  10                                         Amanda Lockhart Seabock
  11                                         Attorney for Plaintiff

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       Joint Stipulation for Dismissal              Case: 2:19-CV-07218-CJC-GJS
